

People v Swift (2023 NY Slip Op 04728)





People v Swift


2023 NY Slip Op 04728


Decided on September 26, 2023


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: September 26, 2023

Before: Renwick, P.J., Moulton, Kennedy, Scarpulla, Higgitt, JJ. 


Ind. No. 3497/19 Appeal No. 612 Case No. 2021-02881 

[*1]The People of the State of New York, Respondent,
vCarl Swift, Defendant-Appellant.


Jenay Nurse Guilford, Center for Appellate Litigation, New York (David J. Klem of counsel), for appellant.
Alvin L. Bragg, Jr., District Attorney, New York (Andrew H. Chung of counsel), for respondent.



Judgment, Supreme Court, New York County (Michele S. Rodney, J.), rendered July 23, 2021, convicting defendant, upon his plea of guilty, of attempted criminal possession of a weapon in the second degree, and sentencing him as a second felony offender to a term of five years, unanimously affirmed.
Defendant did not preserve his Second Amendment challenge, based on the United States Supreme Court decision in New York State Rifle &amp; Pistol Assn., Inc. v Bruen (597 US &amp;mdash, 142 S Ct 2111 [2022]), to Penal Law § 265.03 (3), and we decline to review the claim in the interest of justice (see People v Adames, 216 AD3d 519, 519-520 [1st Dept 2023]). As an alternative holding, we find that on the present record, defendant has failed to establish that his conviction was unconstitutional. 
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: September 26, 2023








